Case 0:07-cr-60027-WJZ Document 512 Entered on FLSD Docket 08/17/2007 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________


                                   O R D E R


              THIS CAUSE is before the Court on defendant Lawrence

  Pinkoff's Motion to Join and Adopt Co-Defendants’ Motions (DE 509

  & 510).    Being fully advised, it is hereby

              ORDERED    AND   ADJUDGED   that   the   motions   are   GRANTED.

  Defendant Lawrence Pinkoff is permitted to join in and adopt the

  following    motions:    (1)   Defendant   Howard    Helfant’s   Motion    to

  Preclude the Government’s Use or Introduction of all Government
  Discovery Disclosed in Violation of This Court’s Standing Discovery

  Order (DE 453), (2) Defendant Hannibal Edward’s Motion to Dismiss

  Indictment (DE 457), (3) Defendant Serge Francois’ Motion to

  Dismiss Indictment (DE 464) and (4) Defendant Howard Helfant’s

  Motion to Dismiss Indictment (DE 472), except as to any matter

  where standing is an essential element of participation.                  Any
Case 0:07-cr-60027-WJZ Document 512 Entered on FLSD Docket 08/17/2007 Page 2 of 2



  appeal from or objection to any magistrate judge ruling must be

  taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 17th

  day of August, 2007.




  Copies to:
  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
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  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
  David Bogenschutz, Esq. (D-Antoniou)
  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
  Jeff Harris, Esq. (D-Cruz)
  Michael Hursey, Esq. (D-Walker)
  Richard Della Fera, Esq. (D-Echols)
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  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




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